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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                   *
DEBORAH LAUFER,                                    *
                                                   *
       Plaintiff,                                  *
                                                   *
                v.                                 *         Civil No. SAG-20-1973
                                                   *
BRE/ESA P PORTFOLIO, LLC,                          *
                                                   *
       Defendant.                                  *
                                                   *
                                                   *
*      *       *       *       *       *       *       *      *       *       *       *     *

                                                   ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, it is this 19th day of

November, 2020, by the United States District Court for the District of Maryland, ORDERED that

Defendant’s Motion to Dismiss, ECF 5, is GRANTED. Plaintiff’s claims will be dismissed

without prejudice, and Laufer will be afforded twenty-one days to file a motion for leave to amend.

If no such motion is filed, the dismissal will be with prejudice, and this case will be closed.



                                                       ___________/s/________________
                                                       Stephanie A. Gallagher
                                                       United States District Judge
